            Case 6:24-cr-00029-ADA Document 28 Filed 04/09/24 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §            NO: 6:24-CR-00029 - ADA
                                                  §
                                                  §
WILMER ANTONIO TERCERO-                           §
PANIAGUA                                          §


                MEMORANDUM AND RECOMMENDATION

         Pursuant to the referral by the District Judge, the defendant, the defendant’s attorney and

the attorney for the government appeared before the undersigned Magistrate Judge on April 9,

2024, for the purpose of the defendant’s entry of a plea of guilty. At that time the defendant

entered a guilty plea as stated on the record. The Magistrate Judge addressed the defendant

personally in open court and, after assuring that the defendant was competent to proceed and had

consented to pleading guilty before a Magistrate Judge, admonished the defendant in accordance

with Rule 11, Fed. R. Crim. P., of the nature of the charge, the possible penalties, the defendant’s

constitutional and statutory rights, and the consequences of pleading guilty. The defendant

acknowledged understanding these admonishments.             The undersigned also addressed the

defendant concerning the voluntariness of the guilty plea. Finally, the undersigned assured the

existence of a factual basis for the guilty plea. Based upon the answers to the court’s questions

from the defendant and from counsel, the Magistrate Judge makes the following findings:

      1. the defendant is competent to stand trial;

      2. the defendant has consented to plead guilty before a Magistrate Judge;

      3. the defendant fully understands the nature of the charge and the penalties;




                                                  1
          Case 6:24-cr-00029-ADA Document 28 Filed 04/09/24 Page 2 of 3




   4. the defendant understands defendant’s constitutional and statutory rights and desires to
      waive them;

   5. the defendant’s plea is freely, knowingly and voluntarily made;

   6. the defendant is satisfied with their attorney’s representation and has no complaints
      regarding the attorney’s representation of any type; and

   7. there is a factual basis for the plea.

                                     RECOMMENDATION

       It is, therefore, the recommendation of the Magistrate Judge that the guilty plea be

ACCEPTED and that a Judgment of guilt be entered against the defendant.


                                  Instructions for Service and
                                Notice of Right to Appeal/Object

       The United States District Clerk shall serve a copy of this Memorandum and

Recommendation on all parties either (1) electronic transmittal to all parties represented by an

attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural

Rules for Electronic Filing in Civil and Criminal Cases; or (2) by certified mail, return receipt

requested, to any party not represented by an attorney registered as a Filing User. Pursuant to

Title 28 U.S.C. Section 636 (b)(1) and Rule 59(b)(2), Fed. R. Crim. P., any party who desires to

object to this report must serve and file written objections to the Memorandum and

Recommendation within 14 days after being served with a copy unless this time period is

modified by the district court. A party filing objections must specifically identify those findings,

conclusions or recommendations. to which objections are being made and the basis for such

objections; the district court need not consider frivolous, conclusive or general objections. Such

party shall file the objections with the clerk of court, and serve the objections on all other

parties and the Magistrate Judge. A party's failure to file written objections to the proposed



                                                 2
         Case 6:24-cr-00029-ADA Document 28 Filed 04/09/24 Page 3 of 3




findings, conclusions and recommendations contained in this report shall bar the party from a de

novo determination by the district court. See Thomas v. Arn, 474 U.S. 140, 150, 106 S. Ct. 466,

472, 88 L.Ed.2d 435 (1985). Additionally, any failure to file written objections to the proposed

findings, conclusions and recommendation contained in this Memorandum and Recommendation

within 14 days after being served with a copy shall bar the aggrieved party, except upon grounds

of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the district court. Douglass v. United Services Automobile Association,

79 F.3d 1415, 1428-29 (5th Cir. 1996).


       SIGNED this 9th day of April, 2024.


                                                   ____________________________________
                                                   DEREK T. GILLILAND
                                                   UNITED STATES MAGISTRATE JUDGE




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